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                                                                   EXHIBIT B
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         2020 Annual Review

             Dear Friends,
             In 2020, we celebrated PETA’s 40th year of making historic progress       Twitter) took home the gold in two categories at the Telly Awards.
             for animals.                                                              The riveting documentary Breaking the Chain about PETA’s fieldwork
                                                                                       made an indisputable case for the need to strengthen laws governing
             In the midst of the coronavirus pandemic, we forcefully and               the treatment of “backyard dogs.” We showed that we can change a
             conclusively hammered home the fact that raising and killing animals      lot if we rise to the occasion, which we have done again and again!
             for food is the source of a litany of deadly diseases—including COVID-
© PETA




             19, avian flu, swine flu, SARS, MERS, and even Ebola—and that the         We thank all our supporters—especially our Vanguard Society,
             filthy, severely crowded conditions in which animals used for clothing,   Augustus Club, and Investigations & Rescue Fund members—for
             experimentation, and entertainment are kept are also likely breeding      being part of all the victories on the following pages and for helping
             grounds for the next pandemic. Our incisive exposés of live-animal        us challenge the human-supremacist view that we are somehow
             markets around the world and here at home—and our demand for              superior to other animals in a way that can justify disrespecting,
             them to be shut down—resounded in international headlines.                abusing, exploiting, and slaughtering them.

             With the help of Mayim Bialik, Kim Basinger, and Joanna Krupa,            With kind regards,
             I talked to over 40 million people about my latest book, Animalkind,
             in which I describe how gobsmackingly wonderful animals are and
             how we must therefore treat them as such. To that end, PETA drove
             a bulldozer into the very foundations of animal experimentation.          Ingrid E. Newkirk
             We published our Research Modernization Deal, spared thousands            President
             of animals painful and deadly tests, helped put “Tiger King” Joe
             Exotic behind bars, won precedent-setting advances in our work to
             end the big-cat cub-petting industry, became the first group ever         Board of Directors and Officers
             to expose the cruelty in the international alpaca trade and send          Ingrid E. Newkirk, Secretary
             its major buyers fleeing, rendered North Carolina’s “ag-gag” law          Michael P. Rodman, Chair
             toothless, imploded the market for products made from coconuts            Jeanne Roush, Treasurer
             picked by captive monkeys, rescued 37 animals from hideous
             roadside zoos, got groundbreaking legislation passed banning
             the chaining of dogs in extreme weather throughout Virginia,              Honorary Board of Directors
             and helped end the government’s blackout of Animal Welfare                Nanci Alexander                       Edie Falco
             Act inspection reports.                                                   Pamela Anderson                       Anjelica Huston
                                                                                       James Cromwell                        Bill Maher
             Our stirring, anti-speciesist commercial “Don’t Stand for Injustice”      Alan Cumming                          Alicia Silverstone
             (which received more than 4 million views and was a top trend on          Kate del Castillo                     Lily Tomlin
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 The                                              Way
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  We believe that animals have an intrinsic worth of their           Awareness is the first step. Change is the second.
  own, quite apart from their utility to humans, and should
  not be treated as commodities. Therefore, PETA’s motto is          PETA also effects change for animals through shareholder
  “Animals are not ours to experiment on, eat, wear, use for         activism, corporate negotiations, internet marketing,
  entertainment, or abuse in any other way.”                         scientific research and analysis, funding the development
                                                                     of non-animal test methods, lobbying, humane education,
  The greatest cause of animal suffering is not malice.              youth involvement, outreach to the courts and law
  It is ignorance.                                                   enforcement, and rescue work.

  The places in which the largest numbers of animals suffer the      With these tools, we’re getting animal tests replaced with
  most intensely for the longest periods of time are inaccessible    sophisticated and humane non-animal methods. We’re
  to most people: laboratories, industrial farms, slaughterhouses,   persuading grocery and restaurant chains to require their
  fur farms, the entertainment industry, the pet trade, and the      meat, milk, and egg suppliers to make sweeping reforms.
  backyards and homes of abusive animal owners.                      We’re pressuring designers and retailers to stop selling fur,
                                                                     leather, down, wool, angora, mohair, cashmere, and alpaca.
  The ally of ignorance is silence.                                  We’re pushing the film, television, and advertising industries
                                                                     to replace the use of live great apes and other wild animals
  Just as mold thrives in the dark, animal abuse thrives in a        with computer-generated imagery or animatronics, and we’re
  climate of secrecy. Just as sunlight is the best disinfectant,     turning people away from live-animal shows and exhibits.
  public awareness is PETA’s most effective weapon against
  animal abuse.                                                      We’re saving animals’ lives through hands-on rescue
                                                                     work. We’re successfully urging law-enforcement
  No one does more to raise awareness of the plight of animals       authorities to take cruelty to animals seriously. We’re
  than PETA. The video footage and other findings from our           persuading the courts to give animal abusers stiffer
  eyewitness investigations of facilities in which animals are       penalties, sentence them to anger-management training,
  neglected and abused draw millions of web viewers each             and prohibit them from owning animals. We’re engaging
  year. Our media campaigns—and especially our recruitment           young people and revolutionizing the way future




                                                                                                                                      Cow: © Kencredible • Goose: © CharlesLongPhotography.com • Tiger: Ethan Eliam
  of celebrity spokespeople—put animal issues in the headlines       generations will view animals. And we’re inspiring
  of major media outlets every single day. Our grassroots            countless people to go vegan, to buy only cruelty-free
  outreach is second to none, with demonstrators and leafleters      products, and to make animal-friendly choices in all
  on the streets all over North America seven days a week.           aspects of life.

  At a time when all but the most controversial voices are           Ultimately, PETA strives to achieve a world in which animals
  drowned out in a media din, our willingness to be cheeky           are respected and humans are aware of and concerned
  and provocative when necessary ensures that the plight             about the ways in which their daily decisions affect the
  of animals does not go unnoticed.                                  lives of other sentient beings.
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The Dedication and Generosity of                                                      Members Make Our Work Possible
Vanguard Society and Augustus Club members such as those below provide the roots of the financial support that enables our vital programs to grow stronger.




   Bev Kumari, augustus club member and peta business friend
   I have been a PETA supporter for many years and am proud to make sure this vital work happens today as a PETA Business
   Friend and in the future by being part of PETA’s Augustus Club.




                                 Carol Holub, vanguard society member
                                 PETA is one of the most effective nonprofit organizations in the world. I have been actively involved with them for over
                                 30 years as a volunteer, philanthropist, and protester, and I have witnessed firsthand their relentless drive to reduce and
                                 eliminate animal suffering. This organization never wastes money, gives up, or is intimidated by any animal torturer.
                                 PETA will win in the end because they are ethical and right. The tide is turning—be on PETA’s side.



   Caryn Schall, vanguard society and augustus club member
   My puppy Micci changed my life. My love for her spilled over to all animals because I could see the face of Micci in each of
   them. I decided I would try to be the voice for all the moos, squawks, barks, oinks, quacks, and cock-a-doodle-doos out there.
   That’s when I discovered PETA. I have been a vocal and a financial supporter of PETA ever since. Micci would be proud.



                                 Marko Zonta and Marco Verrelli, vanguard society and augustus club members
                                 We were aware of PETA but didn’t realize how much incredible work is being done until about eight years ago when we
                                 became vegan. Our eyes were opened to animal abuse and environmental and health issues that are largely hidden.
                                 People have to begin to realize that some of our lifestyle choices inflict horrible suffering on animals—and we firmly
                                 believe that PETA is the best organization to expose those abuses and work with organizations to create meaningful
                                 and lasting change for the animals.
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                                                                   “Test Subjects” poster: © Alex Lockwood
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Animals Are Not Ours to Experiment On
PETA has halted more animal experiments than all               report—“The Research Modernization Deal”—to all                 muscular dystrophy experiments on dogs. It also had
other animal advocacy groups put together.                     federal health-research agencies explaining how                 to pay our legal fees.
                                                               and why to redirect funds from useless animal                • After consulting with PETA, Bolivian engineers
In 2020, PETA achieved these milestones:                       experimentation to humane research methods that                 validated a new type of ventilator for use on COVID-19
   e persuaded Bayer, Bristol Myers Squibb,
• W                                                            hold real promise.                                              patients by using a human simulator instead of testing
  GlaxoSmithKline, and Pfizer to stop using the             • We released “Test Subjects,” a searing documentary              it on pigs.
  meaningless forced swim test, in which terrified             that profiles three scientists who learned from
  animals paddle frantically in inescapable beakers of         experience that animal experimentation                                           PETA is the largest member of
  water to keep from drowning. To date, we’ve persuaded        impedes good science.                                                            the PETA International Science
  14 companies—including seven of the top 10                • Our public records lawsuits against the                                          Consortium Ltd., which funded
  pharmaceutical giants—to ban this test.                      University of Massachusetts–Amherst                                              research resulting in the creation of
   fter working with PETA, Avon Products, Inc., stopped
• A                                                            (UMass) and Oregon Health & Science                                              an antitoxin produced without using
  all tests on animals everywhere in the world, and                                    University resulted in                                   animals that could be commercially
  Suave, Aussie, and Secret joined our list of companies                               the disclosure of video                                  developed to treat diphtheria. The
  and brands (now totaling more than 4,800) that don’t                                 footage of taxpayer-                                     Science Consortium also helped fund
  test on animals.                                                                     funded experiments                                       the development of EpiAlveolar—a
   e persuaded major companies—including Dole
• W                                                                                    that involve deliberately                                first-of-its-kind, human cell–based
  Food Company, Ball Corporation, Barry Callebaut,                                     terrifying monkeys and                                   model of the deepest part of the
  Strauss Group, Ingredion Incorporated, and Takasago                                  intentionally driving                                    lungs—and led the development of an
  International Corporation—to stop conducting,                                        them insane from confinement.        international guidance document on using non-animal
  funding, or commissioning animal experiments.                                        The institutions are squirming       methods for studying the effects of chemicals without
   e released the results of an undercover investigation
• W                                                                                    under the resulting media            forcing animals to inhale them.
  into the Cleveland Clinic, from which we rescued three       spotlight, and the UMass experimenter stopped
  rat sisters, revealing the plight of mice living with        tormenting monkeys and retired.                              We especially thank Pamela Anderson, James Cromwell,
  their skulls partially removed and bred to develop        • In a pioneering First Amendment lawsuit, we forced           Bill Maher, Anjelica Huston, Kevin Nealon, and Iggy
  prolapsed organs in taxpayer-funded experiments.             Texas A&M University to stop blocking Facebook               Pop for helping us draw attention to the cruelty and
• P
   ETA scientists wrote and distributed a detailed            comments that criticize the school’s cruel, useless          wastefulness of experiments on animals.




                               Years ago, I read an interview by an animal rights pioneer named Ingrid Newkirk—and that changed everything.
                               Educating people opens minds. Thank you, Ingrid and everyone at PETA, for being the advocate and protector of all
                               animals. It’s an honor being a member.
                                                                                                                                                                   Jeff Choate
                                                                                                                        vanguard society and augustus club member
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Animals Are Not Ours to Eat
PETA makes vegan eating easy and popular and is               A PETA Asia investigation
wiping out the market for flesh, eggs, and milk               revealed that in Thailand,
obtained through the control of animals’ bodies,              monkeys—many of whom
freedom, and reproduction. To see more of our                 are illegally abducted from
progress, visit PETA.org/AnnualReview.                        their homes in nature—are
                                                              forced to pick coconuts.
In 2020, PETA seized every opportunity to drive home the      They are kept chained and
fact that the ways animals are raised and killed for food     isolated and are driven




                                                                                            Photo: Shawn Dowdell




                                                                                                                                                                          Photo: Juergen Teller
                                                                                                                         Photo: Nico Bustos
can cause the spread of diseases such as SARS, MERS,          insane by captivity and
swine flu, avian flu, HIV, and COVID-19. We publicized        deprivation. PETA and
the filthy conditions in New York City’s live-animal          our affiliates have since
markets (aka “wet markets”) and released exposés of           persuaded Walgreens Boots
similar markets in six countries, each like a petri dish in   Alliance to stop selling coconut food and beverage                              exposing violations of the Humane Methods of
which frightened monkeys, birds, dogs, pigs, cats, and        products of Thai origin in its 9,027 Walgreens and                              Slaughter Act at dozens of U.S. slaughterhouses;
other animals cowered in feces-covered cages and floors       250 Duane Reade stores; Costco and Cost Plus World                              and helping to get the sale of foie gras banned in
were slick with blood, guts, and fetid water. We ran full-    Market to stop selling Chaokoh products (a brand that                           New York City.
page ads in major newspapers about the fact that deadly       uses monkey labor); and Giant Food, Food Lion, Stop
pathogens flourish everywhere that sick and stressed          & Shop, and Hannaford to avoid knowingly selling                                PETA lit up social media and newsfeeds around
animals are crowded together and that the next pandemic       any products involving monkey labor.                                            the world with pro-vegan ads, eye-catching
could arise from U.S. factory farms. We bought billboards                                                                                     demonstrations, and other creative actions.
around the country; held eye-catching demonstrations          Among PETA’s other accomplishments in 2020 were                                 Among others, we thank Paul McCartney, Joaquin
at the White House, the World Health Organization, and        helping to get critical provisions of North Carolina’s                          Phoenix, Cam Newton, Alan Cumming, Alicia
elsewhere; bought stock in leading meat companies to          “ag-gag” law declared unconstitutional; exposing the                            Silverstone, Angela Means, Mark Rylance, Jermaine
leverage our request that they switch to vegan meat           abuse of hens by a Walmart egg supplier; persuading                             Dupri, Edie Falco, Belinda Carlisle, Elizabeth Turner,
production; and much more. These actions grabbed              Dairy Queen, Denny’s, Mooyah, and other restaurant                              Alba Flores, and Patricia Manterola, who all helped
international headlines while urging consumers to             chains to add vegan options; persuading Panera Bread                            us draw massive media attention to the suffering of
keep animal-derived products off their plates.                and Pret a Manger to nix their vegan milk surcharge;                            animals used for food.




                                We are so grateful to PETA for changing everything by educating the world! It’s now commonplace to be vegan and cruelty-
                                free. Giving generously enables PETA to do the essential, heartbreaking work of liberating animals from suffering on farms,
                                in slaughterhouses, in laboratories, and everywhere else animal abuse occurs.
                                                                                                                                                              Andrew and Nancy Rinzler
                                                                                                                      vanguard society and augustus club members
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Animals Are Not Ours to Wear
We’re pushing society to evolve past the speciesist          snakes immense suffering. We also helped stop the sale




                                                                                                                            Man: © iStock.com/Dragos Cojocari
                                                                                                                                 Bag: © iStock.com/Kuzmik_A
era of reducing living, feeling beings to sweaters,          and import of certain exotic skins in California.
watchbands, and shoes. For more news on this
campaign, please visit PETA.org/AnnualReview.                Following appeals from PETA, Macy’s, the Karl Lagerfeld
                                                             brand, Rebecca Minkoff, Global Brands Group, Simons,
As revealed in a landmark PETA investigation of the          and Nordstrom announced that they were going fur-
alpaca trade in Peru—the world’s top alpaca fleece           free and Sephora, Velour, Dermstore, Fashion Nova,                                                 buzzwords don’t protect sheep from incurring bloody
producer—alpacas screamed and vomited in fear as their       Lurella Cosmetics, Coco Mink Lashes, and GladGirl                                                  wounds and being shoved, hit, jabbed, or kicked.
legs were nearly wrenched out of their sockets while         banned mink-fur eyelashes. A PETA-backed bill was                                                  PETA’s 13th wool-industry exposé broke with news of
workers tied them to devices that resemble medieval          signed into law in California, banning fur sales in                                                a shearer pleading guilty to cruelty-to-animals in
torture racks and roughly sheared them, leaving              that state.                                                                                        Australia (the evidence for which PETA Asia supplied)
many with bloody wounds. We have since persuaded                                                                                                                                   in the same week that a Scottish
numerous companies—including UNIQLO (the world’s             As a result of discussions with PETA,                                                                                 farmer was convicted of cruelty for
third-largest clothing retailer), Columbia Sportswear        Awake Watches confirmed that                                                                                          punching sheep—as revealed, again,
Company, Esprit, and Overstock.com—to ban alpaca.            it had stopped stocking leather                                                                                       in a PETA Asia investigation. PETA
                                                             watchstraps, the American Red Cross                                                                                   and our international affiliates have
After hearing from PETA, NARS Cosmetics and Kugo—            pledged to replace leather gloves in                                                                                  now documented cruelty to sheep at
the parent company of RoyalShave, Pomades, and               its kits with leather-free ones, and                                                                                  116 operations on four continents.
TheStache.com—banned badger hair, joining nearly             Ford Motor Company launched its
100 brands worldwide that have rejected an industry          first all-vegan SUV model.                                                                                            We thank Gillian Anderson,
that forces badgers to live in cramped, wire cages until                                                                                                                           Carmen Carrera, Jillian Barberie,
workers finally bludgeon them and slit their throats.        With the release of PETA’s exposé                                                                                     Tina Louise, Stephanie Gerard,
                                                             of Bare Ranch—a Nevada sheep                                                                                          Amina Blue, Bret Lockett, and
Following discussions with PETA, Tommy Hilfiger,             farm that claims to produce wool                                                                                      Jesse & Joy, who, among others,



                                                                                                     Photo: Robert Sebree
Calvin Klein, Nordstrom, and Jil Sander confirmed that       using “sustainable” methods with                                                                                      helped PETA inform millions of
they’ve stopped using exotic skins—sparing countless         “respect” for animals—millions                                                                                        people about the cruelty hiding in
alligators, crocodiles, ostriches, kangaroos, lizards, and   of consumers learned that these                                                                                       animal-derived materials.




                               As a founding member, I’m proud that PETA has always taken creative, courageous actions in behalf of all sentient
                               beings. Protecting animals is a crucially important human responsibility. I feel blessed that my passion carries on in
                               my family.
                                                                                                                                                                                              Mari Mennel-Bell
                                                                                     founding member and vanguard society and augustus club member
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                                                                    © Turpentine Creek Wildlife Refuge
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Animals Are Not Ours to Use for Entertainment
In 2020, PETA achieved these stunning victories for                                  make trainers surf on dolphins’ backs and stand on               petting industry. As a result of the lawsuit, 25 big cats
animals used for entertainment:                                                      their faces.                                                     were rescued. His federal exhibitor’s license was also
• We released an investigation revealing that the South                          • As a result of a PETA lawsuit, Dade City’s Wild                  permanently revoked.
   African Million Dollar Pigeon Race causes so much                                 Things (DCWT)—a seedy Florida roadside zoo—was                • After decades of work by PETA, no more chimpanzees
   suffering that more than 4,200 of the 5,000 pigeons                               permanently banned from possessing endangered                    are being used in Hollywood films or television.
   entered in the 2020 race died or                                                                        tigers. It subsequently shut down.      • We published a follow-up exposé showing that despite
   were lost before finishing.                                                                             The court’s ruling affirms that            supposed
• After years of work by PETA, a                                                                          prematurely separating tiger cubs          reforms,
   Virginia roadside zoo owner was                                                                         from their mothers and forcing them        donkeys and
   charged with 46 counts of cruelty                                                                       into public encounters are violations      mules continue
                                       © David Jalda | Dreamstime.com




   to animals after officials seized                                                                       of the Endangered Species Act.             to suffer from
   more than 100 animals who were                                                                       • We got the Tri-State Zoological            wounds and
   denied appropriate care, including                                                                      Park of Western Maryland (Tri-             severe thirst in
   water and shelter.                                                                                      State Zoo) banned from possessing          the burning sun
• We helped get the exhibitor license                                                                     endangered or threatened species.          while hauling
   of Hugo Liebel—abuser of ailing elephant Nosey—                                • To date, PETA has freed 75 big cats and 73 bears from            tourists on the
   terminated, got Nosey confiscated from him and                                    desolate roadside zoos or decrepit backyard cages.               Greek island of




                                                                                                                                                                         Photo: © Brian Bowen Smith
   sent to a sanctuary, and made sure that he lost all                               This year’s rescues include an ailing Asiatic black bear         Santorini.
   his appeals to get her back.                                                      saved from life in a cramped cage at a Pennsylvania
• Following PETA’s vigorous actions, young                                          shooting range, a lion and two tigers from the Tri-           We thank
   Thoroughbreds at major U.S. racetracks raced                                      State Zoo, and all the tigers remaining at DCWT. All          Alec Baldwin,
   without the controversial drug Lasix for the first                                are thriving at accredited, bucolic sanctuaries.              Tommy Lee,
   time ever.                                                                     • In victories against two notorious big-cat exploiters,        Shepard Fairey,
• Following pressure from PETA, the Kentucky Horse                                  a PETA Foundation attorney helped get “Tiger King”            Minka Kelly, Dulce María, Miguel Bernardeau, Cassie
   Racing Commission implemented rules to prevent                                    Joe Exotic sentenced to 22 years in prison in part for        Randolph, and Fiona Oakes, among others, for
   horses from running while injured.                                                killing five tigers, and we won our lawsuit against Tim       supporting our campaigns against the exploitation
• As a result of our pressure, SeaWorld will no longer                              Stark, which may sound the death knell for the cub-           of animals for entertainment.




                               We have been dedicated PETA members for 30 years and have been amazed at the remarkable success that this
                               exceptional organization has achieved worldwide. We support PETA in our estate plans, which fulfills our philanthropic
                               dreams of leaving a lasting legacy of compassion for all animals.
                                                                                                                                                                                                      Lori and Don Doherty
                                                                                                                                              vanguard society and augustus club members
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Animals Are Not Ours to Abuse in Any Other Way
Our Emergency Response Team received more than                or veterinary care for at least six years. We persuaded   With immediate
240 reports of cruelty every week in 2020 from all over       her owner to part with her, found her a fantastic         adoption of
the U.S. and abroad. We ensured that animals in danger        home in New Mexico, and transported her there             coronavirus safety
were rushed to safety, harmful policies were changed,         (which was no small feat during the pandemic).            measures, our mobile
and abusers faced legal consequences. Cases included       • Ziggy, a poodle mix, had lived his whole life in          spay/neuter clinics
getting emaciated dogs confiscated from a Pennsylvania        solitary confinement outdoors chained to a cinder         never stopped their
breeder who kept them housed in filth, forcing a Florida      block. We rescued him, and now his new family calls       crucial work.
construction company to relocate gopher tortoises             him “the best boy in the world” and lets him claim all
before destroying their habitat, ending the sale of           the furniture in their house as a “Ziggy bed.”            Following pressure
live frogs at a Colorado supermarket, and providing        • Capone, a miniature pinscher, was alternately caged       from PETA, an illegal




                                                                                                                                                 Photo: © Perou
forensic research that helped lead to charges                 or tethered on a deck surrounded by his own waste,        turtle dealer’s
against a British Columbia man who filmed himself             living outdoors 24/7 with almost no shelter. With         operation in Virginia
torturing and drowning hamsters. See more at                  much persistence, we were able to rescue him              was shut down and
PETA.org/AnnualReview.                                        and place him with                                        he was convicted for crimes against wildlife and an Ohio
                                                              a family who                                              chinchilla farm where chinchillas’ eyes were crusted shut
PETA spearheaded the passage of a Virginia law that           adores him.                                               and they had embedded collars and open wounds was
bans the tethering of dogs outside in severe weather.                                                                   permanently shuttered.
We also helped pass ordinances that ban unattended         We provided families
tethering altogether in Newport News, Virginia, and        whose incomes                                                Other victories include persuading Walmart to stop
Halifax County, North Carolina.                            were affected by the                                         selling live fish and Publishers Clearing House to stop
                                                           COVID-19 pandemic                                            selling vile glue traps.
PETA’s fieldworkers are out every day, despite the         with basic
coronavirus pandemic, in impoverished regions where        companion animal                                             We enlisted the help of Ozzy Osbourne, Carol Burnett,
                                                                                    Photo: © Martyn Goodacre



animal protection services are scarce or non-existent.     necessities and                                              Tyrann Mathieu, Brian Cox, Nicole Williams-English,
Here are just three of the many animals we rescued in      gave away hundreds                                           Tinsley Mortimer, Raúl de Molina, Ana María Polo,
2020:                                                      of bags of dog and                                           Jencarlos Canela, Ariadne Díaz, and Clarissa Molina
• Bea, a miniature horse, hadn’t received hoof, dental,   cat food.                                                    in our anti-cruelty campaigns.




                               I love PETA because they protect all animals. It gives me tremendous comfort to know they are tirelessly investigating
                               every dark corner where animals are exploited, shining the light on their abuse, exposing their abusers, and then
                               facilitating an end to their suffering using any means necessary.
                                                                                                                                                                  Deborah Claassen
                                                                                                                    vanguard society and augustus club member
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Animal Rights: The Next Generation
Our youth division is the number one force galvanizing      PETA leveraged the massively popular social media           the internet) by
young people to reject the speciesist status quo and        influencer convention Playlist Live to spread the animal    our animatronic
change the future for animals. To learn more, please        rights message. Thousands of attendees took our             ambassadors, Ellie
visit PETA.org/AnnualReview.                                literature and posted photos and videos of themselves       the elephant and
                                                                           escaping our blow-up “fishbowl” prop to      Carly the cow,
In 2020, we launched                                                       support our campaign urging SeaWorld to      about the ways
Students Opposing                                                          free the animals imprisoned in its tanks.    circuses and the
Speciesism (SOS)—a                                                                                                      dairy industry
PETA-backed revolt                                                          PETA’s Campus Rep network—the largest       harm animals.
led by high school                                                          student leadership program of any animal
and college students                                                        protection organization—had a huge          TeachKind—PETA’s humane education division—
who are challenging                                                         impact, with powerful actions taken at      provided more than 89,000 teachers with guidance
human-supremacist                                                           89 colleges from coast to coast. Students   and resources to help students develop empathy for all
norms. SOS mentors                                                          hosted vegan food giveaways on campus       beings, gave awards to outstanding educators who excel
young activists and supplies them with kits to compel       and in areas affected by natural disasters, protested       in this regard, presented online lessons for homebound
action for animals in the most effective ways possible.     the use of fur and down by Canada Goose, drew school        students during the pandemic lockdown, and launched
Students are now leading more than 100 SOS hubs             administrators’ attention to the link between animal        “Challenging Assumptions”—a social justice curriculum
composed of nearly 1,000 members throughout the U.S.        agriculture and climate change, got vegan options           kit designed to inspire high school students to recognize
and Canada, and new members are joining every week.         (even an entirely vegan café) added to campus dining        and question the systemic “othering” of individuals
                                                            facilities, stopped schools from hosting animal circuses,   whose species, race, gender, sexual identity, age, or
Thousands of students from preschool through high           organized animal rights demonstrations in their             ability is different from their own.
school devoured PETA’s message, including through           communities, helped get student legislation passed
vegan cooking demonstrations for health and culinary        restricting animal exhibits on campus, and campaigned       We also worked with leading surgical training model
arts classes, classroom presentations (both in person       to end Starbucks’ vegan milk surcharge.                     manufacturer SynDaver to help fund and develop a
and via webcam) on ending speciesism, and donations                                                                     hyper-realistic, dissectible synthetic frog, SynFrogTM.
of children’s books to schools, libraries, and low-income   More than 18,000 elementary school students were            This will prevent students from being desensitized to
families served by our mobile veterinary clinics.           riveted by stories presented (both in person and via        animal exploitation and frogs from being killed.




                               PETA has stood its ground continuously through investigative reports, education, and its unprecedented efforts in behalf
                               of others. I am grateful for this entity, which strives for a high standard of ethics in its work for those who are powerless
                               to fight for themselves.
                                                                                                                                                               Diana Blinn
                                                                                                                    vanguard society and augustus club member
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The Year in Numbers                                                                                                                                 Financial Statement
• PETA now has more than 6.5 million members and supporters.            pieces posted on websites and printed in various newspapers                REVENUE
                                                                                                                                                    Contributions                            $ 63,804,688
• Our websites received more than 94 million page views, and our        and magazines.                                                                                                      $     56,452
                                                                                                                                                    Gross Merchandise Sales
   videos, which include hard-hitting investigations and celebrity   • PETA was mentioned by many major print and online media                    Interest, Dividends, Royalties,
   ads, received over 800 million views.                                 outlets, including Agence France-Presse, AOL, the Associated                 and Other Income                       $ 2,416,727
                                                                                                                                                    Total Revenue                            $ 66,277,867
• Our social media posts across our PETA and PETA Latino                Press, The Atlantic, Barstool Sports, Billboard, the Bleacher Report,
   channels were seen an average of 141 million times each month.        Bloomberg News, The Boston Globe, Breitbart News Network,                  OPERATING EXPENSES
• PETA sent e-newsletters to more than 1.2 million subscribers.         Business Insider, Bustle, BuzzFeed, The Canadian Press, the Chicago        Programs
                                                                                                                                                     International Grassroots Campaigns      $ 12,157,145
• We sent out over 52 million letters through our online advocacy       Tribune, Cosmopolitan, Country Living, The Cut, The Daily Beast,
                                                                                                                                                     Public Outreach and Education           $ 16,869,378
   campaigns, urging companies and individuals to make changes           The Daily Caller, the Daily Mail, Elle, Entertainment Weekly, E! Online,    Research, Investigations, and Rescue    $ 19,903,446
   that would help animals.                                              Esquire, Forbes, The Globe and Mail, Good Housekeeping, GQ,                 Cruelty-Free Merchandise Program        $    461,979
• PETA’s text message program drove nearly 2 million actions in         The Guardian, Harper’s Bazaar, The Hollywood Reporter, the Houston         Supporting Services
                                                                                                                                                     Membership Development                  $ 9,478,100
   our online advocacy campaigns.                                       Chronicle, HuffPost, International Business Times, the Los Angeles           Management and General Expenses         $    721,229
• We added more than 400 new names to our list of companies            Times, Marie Claire, Men’s Health, MSN, National Geographic, the            Total Operating Expenses                 $ 59,591,277
   that don’t test on animals—bringing the total to over 4,800.         New York Daily News, Newsday, Newsweek, the New York Post,
                                                                                                                                                    CHANGE IN NET ASSETS                     $ 6,686,590
• We secured free advertising space worth over $1.5 million.            The New York Times, OK!, The Onion, Page Six, People, Politico,            Net Assets Beginning of Year             $ 8,432,920
• Our Communications Department handled more than 3,700                Quartz, Refinery29, Reuters, Rolling Stone, Salon, Science, Sports          Net Assets End of Year                   $ 15,119,510
   interviews and other interactions with the media.                    Illustrated, StarTribune, Teen Vogue, Time, USA Today, U.S. News             Purpose Restricted                      $ 2,380,638
                                                                                                                                                     Endowment                               $ 3,294,368
• Our International Grassroots Campaigns Department helped             & World Report, Us Weekly, Vanity Fair, Vice, Vox, The Wall Street           Board-Designated Legal Matters          $ 1,000,000
   organize more than 700 demonstrations.                              Journal, The Washington Post, The Washington Times, Woman’s Day,              Undesignated                            $ 8,444,504
• We filled requests for more than 216,400 free copies of our           Women’s Health, Women’s Wear Daily, and Yahoo! News.
                                                                                                                                                    OPERATING EXPENSE ALLOCATION
   vegan starter kit.                                                • PETA’s work received television and radio news coverage from
                                                                                                                                                    Direct Program Support 		82.88%
• We handled over 15,000 calls and e-mails regarding cruelty to        many media outlets, including 60 Minutes, ABC News, ABC News                Membership Development		15.91%
   animals.                                                             Radio, Access Hollywood, BBC News, BBC Radio Networks, CBC                  Management and General		
                                                                                                                                                                           Operations 1.21%­­­­­­

• Our Mobile Clinics Division sterilized more than 13,000 cats and     News Network, CBC Radio One, CBS News, CBS News Radio, CBS
                                                                                                                                                    PETA is a nonprofit, tax exempt 501(c)(3) corporation
   dogs, including nearly 500 feral cats and over 900 pit bulls at a    Sports Network, CBS This Morning, CNBC, CNN, CNN en Español,                funded almost exclusively by the contributions of our
   reduced cost or free of charge. We’ve now spayed or neutered         CTV News Channel, Entertainment Tonight Canada, ESPN, FOX                   members. We strive to use our funds in the most cost-
   a total of more than 186,950 companion animals.                      Business Network, FOX News, FOX Sports Networks, Global                     effective and efficient manner possible, a commitment
                                                                                                                                                    illustrated by the fact that 82.88% of our operating
• We built and delivered more than 200 free sturdy doghouses           News, Global Television Network, Good Morning America, HLN,                 expenses went directly to our programs fighting
   and bagged more than 1,400 bales of straw, providing dogs            Inside Edition, Morning Express with Robin Meade, NBC News, NBC             animal exploitation. We expended only 15.91% on
   who are forced to live outdoors with some comfort and                News Radio, NBC Sports, NPR, PBS, Real Time with Bill Maher,                fundraising efforts that drive our operations and
                                                                                                                                                    1.21% on management and general operations.
   protection. To date, we’ve delivered a total of over 7,600 free      Telemundo, TMZ, Today, Tucker Carlson Tonight, Univision, and
   doghouses.                                                           The Weather Channel.                                                        Twelve percent of PETA’s dedicated staff earn only
• Our online catalog fulfilled orders consisting of more than       • As of this year, PETA and the PETA International Science Consortium         $16,000 to $34,999, 41% earn $35,000 to $49,999,
                                                                                                                                                    and the remaining 47% make more than $50,000.
   45,000 pieces of animal rights merchandise, including T-shirts,      Ltd. have provided more than $7 million (including the value of             Our president, Ingrid Newkirk, earned $31,348 during
   mugs, tote bags, books, stickers, buttons, and companion             in-kind donations) toward the development of non-animal testing             the fiscal year ending July 31, 2020.
   animal accessories, which raised funds for PETA campaigns and        methods, simulators to replace animals in science education and
                                                                                                                                                    The financial statement shown here is for the fiscal
   promoted cruelty-free living.                                        medical training, instruction for scientists in their use, and raising      year ending July 31, 2020, and is based on our
• We had over 200 letters to the editor and more than 1,800 opinion    awareness of their benefits.                                                independently audited financial statements.
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                                                                   Animal-Friendly Businesses

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                                                                   PETA would like to thank the following compassionate companies, which are members of our
                                                                   PETA Business Friends program. These companies are generous PETA and animal rights supporters.
                                                                   To learn more about this program, please visit PETABusinessFriends.com.


•                     3 rd Rock Essentials                    •                                          Evelyne Prélonge         •                                         MamaSezz                •          Sirius Joy
•                    7 86 Cosmetics                           •                                         Everydaze Corp.           •                                          arei1998
                                                                                                                                                                              M                        •           KIN&CO ROMA
                                                                                                                                                                                                                  S
•                   7 AM Enfant                               •                                        Fake Meats                 •                                        Maui Soap Company        •         Soil Science Products
•                  7 th Heaven                                •                                       Falken Design Corporation   •                                       Max Green Alchemy         •        So Long Marianne                                         PETA’s Tree of Life is on permanent display at
•                 9tro CARES                                  •                                      FinalStraw                   •                                      Maya’s Cookies             •       Sommers Plastic Products                                  our headquarters. Each golden leaf on the tree
•                Absolute Green                               •                                     Follow Your Heart             •                                     May Wah Vegetarian Market   •      The Straw
•               Act of Being                                  •                                    Food Revolution Summit         •                                    MDacne                       •     St. Tropica                                                 can be inscribed with a special message to honor
•              Alchimie Forever                               •                                   Founders Beauty                 •                                   Michele Paiva                 •    SUPA Naturals                                                someone whose commitment to animals is
•             Awesome Vegans Podcast                          •                                  FrogLog Co.                      •                                  Mixed Chicks                   •   Surface Hair                                                  exemplary. Leaves can also be engraved to pay
•            B BAR                                            •                                 FURious Fur                       •                                 Modern Picnic                   •                                       Tandem LLP                tribute to the memory of a loved one.
•           Beauty Without Cruelty                            •                                Gal Go Green                       •                                MODEVIV Organic Beauty           •                                      Tearojoy
•          Benevolent Skin                                    •                               Genuinely Not Leather               •                               Mona Lisa Healing                 •                                     TheRealFaux
•         BHCosmetics                                         •                              GOOD GUYS DON’T WEAR                 •                              MozzaRisella                       •                                    TisBest Charity Gift Cards   For additional information about the Tree of Life
•         B
           oycemode                                                                           LEATHER                              •                             nae                                 •                                   Tofurky                       as well as other ways to make “in honor of” and
•        bü                                                   •                             Green Faith                           •                            Nevele11                             •                                  Très Spa                       memorial gifts, please contact Jessica Johnson
•        B
          usch Systems                                        •                            Green Friday Shop                      •                           NOAH Italian Vegan Shoes              •                                 T.U.K. Footwear
•       Cavi-art                                              •                           GuineaDad                               •                          Noize Original                         •                                Urban Expressions                at 757-692-1286. For specific information about
•       C
         hef Tanya’s Kitchen                                  •                          GUNAS Luxury & Ethical                   •                         Nomadic State of Mind                   •                               v-dog                             making memorial gifts, you can also visit our
•      Chicago Vegan Foods                                                                Handbags                                 •                        N’ONAT                                   •                              VEERAH                             True Friends® Memorial Program website at
•      C
        lear Conscience                                       •                         Hampton Domestics                         •                       No Pressure Roof Cleaning                 •                             Veestro
                                                                                                                                                                                                                                                                          TFMemorial.org.
•     Coming Copenhagen                                       •                        Healing Natural Oils                       •                      Number 4 High Performance                  •                            Vegan Design
•     T
       he Compassionate Closet                                •                       Herban Cowboy                                                       Hair Care                                  •                           Vegan Stokes Cheese
•    c orkor                                                  •                      Hero Pet Supplies                            •                     Nuzest                                      •                          Vegan Tote
•    C
      OSPHERA                                                 •                     Holistic Holiday at Home                      •                    O2 Monde                                     •                         The Vegetarian Site                     A special note of thanks
•    C
      ouch Guitar Straps                                      •                    Home For Dancers                               •                   Passion Placement                             •                        Vegetaryn                                to the following important
•    C
      oyoteVest                                               •                   HOZEN                                           •                  Pas Une Marque                                 •                       Veg Jaunts and Journeys
•    C
      ykoChik Custom Handbags                                 •                  i love tyler madison                             •                 PAWJ California                                 •                      Vegky                                      groups of PETA members:
•    C
      ynthia King Vegan Ballet                                •                 Instinct Copenhagen                               •                Pets&Brands                                      •                     Viviane Woodard
     Slippers                                                  •                Ivy & Fig                                          •               PINKSTIX                                          •                    Walk Your Dog With Love                      • O ur monthly pledge donors, who support
•    D
      efend Animals                                           •               Jaan J.                                             •              Pixie Mood                                         •                   WAMA Underwear
•    D
      eluxe Checks                                            •              James&Co.                                            •             Plant-Based on a Budget                             •                  Waxxxie                                           PETA’s Investigations & Rescue Fund
•    D
      E-VESI                                                  •             Jen & Co.                                             •            PLNT Burger                                          •                 Wharton Financial Group                         • Our Sarah’s Circle members, for their
•    T
      he Dharma Store                                         •            Jillian Dempsey                                        •           Polestar                                              •                Wild Earth                                          generosity and dedication
•    D
      iMare Design                                            •           Kallie & Co.                                            •          Poochy Pawz                                            •               WODA European Natural                             • Our Vanguard Society members, for their
•    D
      ivine Treasures                                         •          Karner Blue Capital                                      •         Prima                                                                    Skin Care
•    D
      oshi Vegan Bags &                                       •         Kinder Beauty                                             •        Purple Carrot                                            •              Wuxly Movement                                        generosity and leadership
     Accessories                                               •        LaBante London                                             •       Qualerex Beauty                                           •             Y3K Tutor In Your Home                              • Our Vanguard Society President’s Circle
•    D
      r. Botanicals                                           •       L.A. Girl Cosmetics                                         •      Rise Brewing Co.                                           •            Yapa Beauty                                             members, for their outstanding commitment
•    D
      r. Spray’s                                              •      LBLC the Label                                               •     Rogue Llama Art and                                         •           ZolaTerra                                             • Our Augustus Club members, for giving
•    D
      rTung’s                                                 •     Lulu Dharma                                                          Puppetry
•   e .l.f. Cosmetics                                         •    Madam Glam                                                     •    Sarvaa Superfood                                                                                                                   animals a future through a legacy gift to PETA
•   E
     ve Cork                                                  •   Main Street Vegan                                               •   She Goes Vegan                                                                                                                      in their wills and estate plans
                                                                                                                                                                                                                20
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                                                                           ’s True Friends Memorial Program
                                                             PETA’s True Friends® Memorial Program honors and preserves the memory of people who were true friends to animals as well as the memory
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                                                             of animals who were true friends to their guardians. For more information about this program, please visit TFMemorial.org.

                                                             In loving memory of the following true friends:

                       • A. De Jager, from Peter De Jager            • Emma Tavana, from Karen Tavana              • Jim Skirha, from Rose Ann Skirha           •   Niccolò Facchini, from a friend
                       • Alan Winslow, from Mike T. Winslow          • Favideh Bahman, from Haldeh Vincent         • Jim Steiner, from Rose Ann Skirha          •   Oakie Howard, from Kimberley Bohlmann
                       • Alexander W. Blackstock III, from Joe and   • Fluffy, from Julia Martinez and Sara        • Joan Milne, from Madeleine Brenden-        •   Para, from Barbara Detwiler
                          Maria Pacio                                    Martinez                                       Brady                                      •   Parkell, from Paula Bakalar
                       • All the animals in our lives, from the      • Fran, from Charlene Wynne                   • John Rouse, from Madeleine Brenden-        •   Pat Binder and Dorothy Berman, from
                          Dutta-Matsubara Family Fund                 • Francesca Baroni, from Suzanne Lawlor          Brady                                              your loving family
                       • Amanda, from David Milner                   • Frisky, Jasper, Princess, and Sasha,        • Joyce Ducky (Baron) Shapiro, from          •   Patricia Gilmore, from Elizabeth Gilmore
                       • Amelia Armstrong, from Carol Armstrong         from Megan Ayrom                               Stanley Spink                              •   Pooff, from Susan Kamps
                       • Andrew Hovanec, from Ruth Berman            • Gene Closterman, from Wendy Pugh and        • Kara and Pelinita, from Constance Jong     •   Princess, from Jacques Salain
                       • Ann Ceneviva, from Mark Ceneviva               Jackie Pugh                                 • Karen Colman, from Linda Healy             •   Professor Arabinda Bhattacharya, from
                       • Aphrodite, from Trisha Gilbert              • Georgina Poirer-Hartling, from William      • Karen E. Colman, from Olga O. Mili                 the Bhattacharya Charitable Fund
                       • Bailey and Sohki, from Diana Artemis           Hartling                                    • KC, from Charles Rosenman and Dan          •   Pumpkin, from Ellen Hamilton
                       • Bear, from Loretta Selinger                 • Gnarly, from Betty Ward                        Klimczak                                   •   Regan Russell, from Anonymous
                       • Belle, from Linda Hawkins                   • Gracie, from Victoria Dimella               • Kelly Respass Kercheval, from Alysoun      •    Rhonda, from Karen Olson
                       • Betsy Rock Dioro, from Ray Diorio           • Gracie and Pudding, from Eleanor Farrant       Mahoney and your PETA family               •    Rocky, from Mary Sutherlands
                       • Bina Robinson, from Jeanie Robinson-           and Rhonda Stevenson                        • Koro, Druzhok, Rogan, Shandy, Darby,       •    Rocky Guy, from Jennifer Guy
                          Pownall                                     • Grady and Pogo, from Richard E.                Sunny, Dexter, Rowdy, Sophia, Sarah,       •    Roger, from Linda Hawkins
                       • Bo, from the Mullins family                    Signorelli                                     Theresa, Brigitte, and Chloe, from Karen   •    Rosemary “Rosie,” from the Rackham
                       • Bobcat, from Claudette Stulz                • Gregory Crigler, from Alex Coutrakon           Porreca                                            family
                       • Bradford Louis Tiffany, from Lars Tiffany   • Gregory Demas, from Adrienne                • Lee McDonald, from John Varallo            •    Rosie, from Charles Rosenman and Dan
                       • Bruno, from Cathy Damazio                      Hernandez                                   • Linda Dudine, from Carol Richter                   Klimczak
                       • Bugsy, from Roddy Wong                      • Happy, from Patty Bowers                    • Linda Trepanier, from Bank of America      •    Roz, from Nicole Martins
                       • Button, from Linda Hawkins                  • Henryk Chetnik, from Bozena Chetnik         • Lucas Kaempfer, from Joseph Kaempfer       •    Runda Gunnison, from S. Bell
                       • Camille Storm, from Henry Bowen             • Henry Selinger, from Loretta Selinger       • Lucie, from Vicki and Gilles Fecteau,      •       Sam, from Susan Gore
                       • Carol Gail Hopkins, from Thomas Hopkins     • Honey Bun, from Laura Legant                   Mommy, and Momo                            •    Shiloh Plumlee, from Sally Curry
                       • Carol Tuschman, from Bob Craig              • Ilko Stefanov Metchkanski, from Mark        • Lucila Kit-Pen Tang, from Helen Mauchi     •        Sidney Miller, from Joy Miller
                          Tuschman                                       DaSylva                                     • Lucky, from Tim Meeks                      •    Smootch, from Michael Bandler
                       • Ciara Collins, from Lisa Mazzeo             • Irene Williams, from Donald Rappaport       • Lucky Lulu Belle, from James D. Spates     •     Stanley Abrams, from David Abrams
                       • Coco and Rocky, from Stanley and            • Isaac Z. De La Rocha, from Helen De La      • Lynda Lynch, from Barbara Poakeart         •     Steve Bing, from Janie Greenspun Gale
                          Martine Fleishman                              Rocha                                       • Marguerite Chesterman, from Sarah          •      Sunny, from Susan Gore
                       • Cookie, from Alyne Fortgang                 • James Donald Jones, from Mary Combs            Chesterman                                 •      Surrah De Almeida, from Stephen Way
                       • Daisy, from Linda Hawkins                   • Jaymie, from Eileen Creitz                  • Marjean Gillis, from Katie Gillis          •      Susan Whalen Gask, from Robert Wayne
                       • Danny the cat, from Frank Miller            • Jean Curran, from your friends at           • Marjorie Nelson, from Nancy Girardi and            Harris
                       • Debra Kahn Freeman, from Christopher           Frankford                                      Nick Girardi                               •      Suzanne Gaudino, from Charles Ferguson
                          Morris, Rob Payne, Susie Kahn, and          • Jeanette M. Pontacq, from Richard Cohn      • Marty Zellweger Rosenthal, from            •      Sydney, from Sherry Brock
                          Timothy Abare                               • Jenny, from Zoltan G. Turi, M.D.               Anonymous                                  •      Teresa Stein, from Katherine Kidwell
                       • Dennis, from J. Blaney                      • Jenny Woods, from Bruce Wieland, Cody       • Mike Roehm, from Mary Ryland               •         Tillie, from Karen Demasters
                       • Dion, from Tim Meeks                           Ammerman, Daphna Nachminovitch,             • Missy and Tala, from Mojdeh Tabatabaie     •          Tyler, from Gary Hopson
                       • Dona Eley, from Anonymous                      Hollie Wood, Jannette Patterson, Jennifer   • Monty, from Joe Cardinal                   •      Vahe Duncan Johnson, from Diana L.
                       • Double Trouble and Molly, from James           Perich, Jennifer Tucker, Jerry Eppinga,     • Mr. Smitty, from Tom Winemiller                    Johnson
                          Stilwell                                       Jessica Sandler, Karen Porreca, Susan C.    • My Mother and Father, Betty and            •      Vinny, from Holly S. Pearson
                       • Edie, from Linda Hawkins                       Rich, Tracy Reiman, and your PETA family       Eugene, from Terry Sponseller              •      Wade Crowder, from Carolyn Crowder
                       • Elizabeth, from Marcee Shafer               • Jerry Young, from Patrice Green             • My Wife, from William Stirling             •      Wallie Ray, from Dr. Gordon Ray
                       • Eloise, from Susan Aburn DeFazio            • Jessie, from Barbara Mallon                 • Nancy Hartman, from Rosie and Sharon
                                                                                                                                                                                                                      

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Saved! The New ‘Rat Pack’
 Frank, Sammy, and Dean got nothin’ on Sarah, Siri, and Peggy,
 three engaging rat sisters rescued from the Cleveland Clinic by
 a PETA undercover investigator.

 Experiments conducted at the world-famous Cleveland
 Clinic were sickening. Experimenters performed grisly brain
 experiments on rats and mice. They cut open mice’s skulls and
 suctioned out portions of their brains then glued a glass pane
 over the gaping wound to create a “cranial window.” Others
 were injected with a chemical that caused a neurological disease,
                                                                                                                                                                     Siri
 leaving many of them paralyzed and forced to drag themselves to
 their food.
                                                                                      Peggy
 Some mice were bred to have pelvic organ prolapse, which causes the
 uterus, bladder, rectum, or other tissue to bulge outside the body. One
                              mouse, who was named Daisy by PETA’s investigator
                                    and had a painful rectal prolapse, was denied      Thanks to PETA’s investigator, this triple-threat girl group escaped. Today,
                                        pain relief for at least 10 weeks.             they enjoy snuggling in soft bedding, snacking on fresh fruit and veggies, and
                                                                                       building nests in a loving home with a PETA staffer who appreciates their unique
                                            Mice and rats are intelligent, curious,    personalities.
                                             sensitive individuals. Doting mother
                                               rats dip their paws into cool water     Sarah is the nurturer. While her sisters are playing with toys, she can be found
                                                and gently smooth the fur around       stuffing her nest with tissue and timothy hay. She generously shares any treats
                                                the faces of their infants, who        she’s offered with the others.
                                                 put their arms around their
                                                 mothers’ necks. Rats and mice         Playful and inquisitive Siri loves having her tummy tickled—sticking her feet in
                                                are commonly used and abused           the air, squirming, and giggling. Peggy is the star athlete, a talented acrobat who
                                                as living test tubes—they’re           can pull herself up like a gymnast.




                                                                                                                                                                             Cover photo: © iStock.com/tracielouise
                                               chosen not for scientific reasons
                                             but simply because they’re cheap,         With your help, we can end cruel tests on animals and save more sensitive souls
            Sarah                           small, and easy to handle.                 like Sarah, Siri, and Peggy.




                                           People for the Ethical Treatment of Animals • 501 Front St., Norfolk, VA 23510 • 757-622-PETA • PETA.org
